EXHIBIT 14
Trump administration did not say which
research projects were targeted in
Harvard review. A government memo
has answers.
By Mike Damiano and Liz Kowalczyk Globe Staff, Updated April 4, 2025, 7:11 p.m.




The Widener Library at Harvard University in Cambridge, MA on April 3. CRAIG F. WALKER/GLOBE STAFF


When the Trump administration announced a review of $9 billion of federal funding
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projects might be targeted.
But a Monday memo from the government’s antisemitism task force obtained by the
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It lists more than $255 million of contracts included in the review, most of them for
health and medicine research projects. One contract with the Harvard T.H. Chan School
of Public Health is worth nearly $60 million and provides funding for research on
tuberculosis at 14 labs across the country. Another, with Boston Children’s Hospital,
provides nearly $36 million for what public records describe as an online vaccination site
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That contract is just one of many on the list for Boston Children’s Hospital. In total, the
hospital’s contracts now under review are valued at more than $122 million. The list,
which was not previously reported, also includes $98 million of contracts with Harvard
University itself, including the School of Public Health contract.

The memo was sent to Harvard’s leaders on March 31 by the US General Services
Administration, one of the agencies participating in the antisemitism task force.

It put Harvard on notice that nearly $9 billion of funding would be placed under review.

The vast majority of the funding, $8.7 billion, was in the form of “multi-year grant
commitments,” but no other details were provided. By contrast, the memo provided a
specific list of federal research contracts, and said the government was prepared to issue
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It also invoked a broad authority to cancel any contract “for convenience.” Many federal
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 Federal research contracts targeted in the Harvard antisemitism review
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     Search in table                                                                  Page 1 of 8


  Funding agency           Recipient               Description                                  Total

                           PRESIDENT AND
  National Institutes of                           HEALTH R&D SERVICES; HEALTH CARE
                           FELLOWS OF HARVARD                                                $59.8M
  Health                                           SERVICES; APPLIED RESEARCH
                           COLLEGE

  Centers for Disease
                           CHILDREN'S HOSPITAL
  Control and                                      SUPPORT- PROFESSIONAL: OTHER                $36M
                           CORPORATION
  Prevention
  Centers for Disease
                           CHILDREN'S HOSPITAL     HEALTH R&D SERVICES; HEALTH CARE
  Control and                                                                                $24.9M
                           CORPORATION             - OTHER; BASIC RESEARCH
  Prevention
  National Institutes of   CHILDREN'S HOSPITAL     HEALTH R&D SERVICES; HEALTH CARE
                                                                                             $24.8M
  Health                   CORPORATION             SERVICES; APPLIED RESEARCH
  Office of Assistant
                           PRESIDENT AND           HEALTH R&D SERVICES; HEALTH CARE
  Secretary for
                           FELLOWS OF HARVARD      SERVICES; EXPERIMENTAL                    $15.2M
  Preparedness and
                           COLLEGE                 DEVELOPMENT
  Response
  National Institutes of   CHILDREN'S HOSPITAL     HEALTH R&D SERVICES; HEALTH CARE
                                                                                             $13.6M
  Health                   CORPORATION             SERVICES; BASIC RESEARCH
  National Institutes of   CHILDREN'S HOSPITAL     HEALTH R&D SERVICES; HEALTH CARE
                                                                                             $10.9M
  Health                   CORPORATION             SERVICES; BASIC RESEARCH

                           THE GENERAL
  National Institutes of                           SUPPORT- PROFESSIONAL: PROGRAM
                                                                                               $

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labs across the country working on vaccine development, according to publicly available
data on federal research contracts. Another contract with Boston Children’s Hospital
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life-saving research and imperil important scientific research and innovation.”

He also said: “We fully embrace the important goal of combatting [SIC] antisemitism,
one of the most insidious forms of bigotry” and that Harvard would “engage with
members of the federal government’s task force to combat antisemitism to ensure that
they have a full account of the work we have done and the actions we will take going
forward to combat antisemitism.”

The institutions targeted in the review include Harvard University itself and its affiliated
teaching hospitals and research institutions, such as Mass General Brigham, Beth Israel
Deaconess Medical Center, Boston Children’s Hospital, and the Broad Institute,
according to the list of contracts included in the memo.

The memo describes the $255 million as a “ceiling value.” That may be a reference to the
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The antisemitism task force says its goal is to investigate universities that have violated
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“Using federal contract law to bypass federal anti-discrimination law is a massive
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Spokespeople for the Department of Education, the Department of Health and Human
Services, and the US General Services Administration, three agencies participating in the
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Neena Hagen of the Globe staff contributed to this report.



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Related

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Federal research contracts targeted in the Harvard antisemitism review
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A data table showing a list of federal contracts for Harvard University under review as part of
an presidential executive order

Table with 4 columns and 61 rows. Sorted descending by column "Total"
                PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $59.8M
National        FELLOWS OF      CARE SERVICES; APPLIED RESEARCH
Institutes of   HARVARD
Health          COLLEGE

Centers for     CHILDREN'S      SUPPORT- PROFESSIONAL: OTHER      $36M
Disease         HOSPITAL
Control and     CORPORATION
Prevention

Centers for     CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $24.9M
Disease         HOSPITAL        CARE - OTHER; BASIC RESEARCH
Control and     CORPORATION
Prevention

National        CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $24.8M
Institutes of   HOSPITAL        CARE SERVICES; APPLIED RESEARCH
Health          CORPORATION

Office of       PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $15.2M
Assistant       FELLOWS OF      CARE SERVICES; EXPERIMENTAL
Secretary for   HARVARD         DEVELOPMENT
Preparedness    COLLEGE
and Response

National        CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $13.6M
Institutes of   HOSPITAL        CARE SERVICES; BASIC RESEARCH
Health          CORPORATION

National        CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $10.9M
Institutes of   HOSPITAL        CARE SERVICES; BASIC RESEARCH
Health          CORPORATION

National        THE GENERAL     SUPPORT- PROFESSIONAL:            $8.9M
Institutes of   HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health          CORPORATION

National        CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $8.3M
Institutes of   HOSPITAL        CARE SERVICES; APPLIED RESEARCH
Health          CORPORATION
U.S. Special     THE GENERAL     HEALTH R&D SERVICES; HEALTH       $8M
Operations       HOSPITAL        CARE SERVICES; APPLIED RESEARCH
Command          CORPORATION

                 PRESIDENT AND   SUPPORT- PROFESSIONAL: OTHER      $6M
National         FELLOWS OF
Institutes of    HARVARD
Health           COLLEGE

National         THE GENERAL     SUPPORT- PROFESSIONAL:            $5.3M
Institutes of    HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health           CORPORATION

                 PRESIDENT AND   SPECIAL STUDIES/ANALYSIS-         $4.7M
Food and         FELLOWS OF      CHEMICAL/BIOLOGICAL
Drug             HARVARD
Administration   COLLEGE

National         CHILDREN'S      HEALTH R&D SERVICES; HEALTH       $3.3M
Institutes of    HOSPITAL        CARE SERVICES; APPLIED RESEARCH
Health           CORPORATION

Office of        PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $3.2M
Assistant        FELLOWS OF      CARE SERVICES; EXPERIMENTAL
Secretary for    HARVARD         DEVELOPMENT
Preparedness     COLLEGE
and Response

                 PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $3.2M
Department of    FELLOWS OF      CARE - OTHER; APPLIED RESEARCH
Veterans         HARVARD
Affairs          COLLEGE

National         THE GENERAL     SUPPORT- PROFESSIONAL:            $2.8M
Institutes of    HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health           CORPORATION

Centers for      THE GENERAL     HEALTH R&D SERVICES; HEALTH       $2.3M
Disease          HOSPITAL        RESEARCH AND TRAINING; APPLIED
Control and      CORPORATION     RESEARCH
Prevention
National         THE GENERAL     SUPPORT- PROFESSIONAL: OTHER      $1.3M
Institutes of    HOSPITAL
Health           CORPORATION

National         THE GENERAL     SUPPORT- PROFESSIONAL:            $1.2M
Institutes of    HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health           CORPORATION

Food and         THE GENERAL     SUPPORT- PROFESSIONAL: OTHER      $978.3K
Drug             HOSPITAL
Administration   CORPORATION

                 PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $965.7K
Department of    FELLOWS OF      CARE SERVICES; BASIC RESEARCH
Veterans         HARVARD
Affairs          COLLEGE

                 PRESIDENT AND   HEALTH R&D SERVICES; HEALTH       $901.3K
Department of    FELLOWS OF      CARE SERVICES; APPLIED RESEARCH
Veterans         HARVARD
Affairs          COLLEGE

National         PRESIDENT AND   NATURAL RESOURCES &               $750K
Oceanic and      FELLOWS OF      ENVIRONMENT R&D SVCS;
Atmospheric      HARVARD         POLLUTION CONTROL & ABATEMENT;
Administration   COLLEGE         EXPERIMENTAL DEVELOPMENT

                 MASSACHUSETTS   MEDICAL- OTHER                    $733.9K
                 GENERAL
                 PHYSICIANS
Indian Health    ORGANIZATION,
Service          INC

                 PRESIDENT AND   REFERENCE LABORATORY TESTING      $700.1K
National         FELLOWS OF
Institutes of    HARVARD
Health           COLLEGE

                 PRESIDENT AND   SPECIAL STUDIES/ANALYSIS-         $693.7K
Department of    FELLOWS OF      MEDICAL/HEALTH
Veterans         HARVARD
Affairs          COLLEGE
National         THE GENERAL     SPECIAL STUDIES/ANALYSIS-        $625K
Institutes of    HOSPITAL        SCIENTIFIC DATA
Health           CORPORATION

National         THE GENERAL     SUPPORT- PROFESSIONAL:           $593.1K
Institutes of    HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health           CORPORATION

                 HARVARD         IT AND TELECOM - PLATFORM AS A   $527K
                 BUSINESS        SERVICE: DATABASE, MAINFRAME,
Washington       SCHOOL          MIDDLEWARE
Headquarters     PUBLISHING
Services         CORPORATION

                 PRESIDENT AND   SPECIAL STUDIES/ANALYSIS-        $523.4K
Food and         FELLOWS OF      SCIENTIFIC DATA
Drug             HARVARD
Administration   COLLEGE

Office of the    CHILDREN'S      EDUCATION/TRAINING-              $450K
Assistant        HOSPITAL        SCIENTIFIC/MANAGEMENT
Secretary for    CORPORATION
Administration

Defense          THE GENERAL     SUPPORT- PROFESSIONAL: OTHER     $393.3K
Advanced         HOSPITAL
Research         CORPORATION
Projects
Agency

National         PRESIDENT AND   OTHER ENVIRONMENTAL SERVICES     $250K
Oceanic and      FELLOWS OF
Atmospheric      HARVARD
Administration   COLLEGE

                 PRESIDENT AND   EDUCATION, TRAINING,             $249.4K
Department of    FELLOWS OF      EMPLOYMENT, & SOCIAL SVCS R&D
Veterans         HARVARD         SVCS; EDUCATION SVCS R&D;
Affairs          COLLEGE         APPLIED RESEARCH
Consumer         THE GENERAL     SUPPORT- MANAGEMENT: DATA       $240K
Product          HOSPITAL        COLLECTION
Safety           CORPORATION
Commission

                 MASSACHUSETTS   REFERENCE LABORATORY TESTING    $200K
                 GENERAL
Department of    PHYSICIANS
Veterans         ORGANIZATION,
Affairs          INC

National         THE GENERAL     SUPPORT- PROFESSIONAL:          $198.2K
Institutes of    HOSPITAL        PROGRAM MANAGEMENT/SUPPORT
Health           CORPORATION

Department of    THE GENERAL     HEALTH R&D SERVICES; HEALTH     $176.4K
Veterans         HOSPITAL        CARE - OTHER; BASIC RESEARCH
Affairs          CORPORATION

                 PRESIDENT AND   EDUCATION/TRAINING-             $175.6K
                 FELLOWS OF      TUITION/REGISTRATION/MEMBERSHIP
Department of    HARVARD         FEES
the Navy         COLLEGE

Immediate        PRESIDENT AND   TRANSPORTATION R&D SERVICES;    $150.7K
Office of the    FELLOWS OF      AEROSPACE RESEARCH; BASIC
Secretary of     HARVARD         RESEARCH
Transportation   COLLEGE

                 BETH ISRAEL     GENERAL SCIENCE AND             $133.4K
Department of    DEACONESS       TECHNOLOGY R&D SERVICES;
Veterans         MEDICAL         GENERAL SCIENCE AND
Affairs          CENTER, INC.    TECHNOLOGY; BASIC RESEARCH

National         CHILDREN'S      SPECIAL STUDIES/ANALYSIS-       $105.6K
Institutes of    HOSPITAL        SCIENTIFIC DATA
Health           CORPORATION

Department of    THE GENERAL     LABORATORY EQUIPMENT AND        $95.5K
Veterans         HOSPITAL        SUPPLIES
Affairs          CORPORATION
Department of   THE GENERAL     HEALTH R&D SERVICES; HEALTH      $95.2K
Veterans        HOSPITAL        RESEARCH AND TRAINING; APPLIED
Affairs         CORPORATION     RESEARCH

Department of   THE GENERAL     HEALTH R&D SERVICES; HEALTH      $95.2K
Veterans        HOSPITAL        RESEARCH AND TRAINING; APPLIED
Affairs         CORPORATION     RESEARCH

                BETH ISRAEL     GENERAL SCIENCE AND              $74.9K
Department of   DEACONESS       TECHNOLOGY R&D SERVICES;
Veterans        MEDICAL         GENERAL SCIENCE AND
Affairs         CENTER, INC.    TECHNOLOGY; BASIC RESEARCH

                PRESIDENT AND   LEASE/RENTAL OF OTHER            $63.6K
                FELLOWS OF      EDUCATIONAL BUILDINGS
Smithsonian     HARVARD
Institution     COLLEGE

                HARVARD         EDUCATION/TRAINING- OTHER        $52.5K
                BUSINESS
Washington      SCHOOL
Headquarters    PUBLISHING
Services        CORPORATION

                PRESIDENT AND   REFERENCE LABORATORY TESTING     $49.9K
National        FELLOWS OF
Institutes of   HARVARD
Health          COLLEGE

                BETH ISRAEL     HEALTH R&D SERVICES; HEALTH      $45.8K
Department of   DEACONESS       CARE SERVICES; BASIC RESEARCH
Veterans        MEDICAL
Affairs         CENTER, INC.

                PRESIDENT AND   IT AND TELECOM - NETWORK:        $32.6K
                FELLOWS OF      SATELLITE COMMUNICATIONS AND
Smithsonian     HARVARD         TELECOM ACCESS SERVICES
Institution     COLLEGE
                 PRESIDENT AND   EDUCATION/TRAINING-             $32K
                 FELLOWS OF      TUITION/REGISTRATION/MEMBERSHIP
Smithsonian      HARVARD         FEES
Institution      COLLEGE

Department of    THE GENERAL     HEALTH R&D SERVICES; HEALTH      $27.4K
Veterans         HOSPITAL        RESEARCH AND TRAINING; APPLIED
Affairs          CORPORATION     RESEARCH

                 PRESIDENT AND   SUPPORT- PROFESSIONAL:           $25.8K
Office of        FELLOWS OF      PERSONAL SERVICES CONTRACTS
Procurement      HARVARD
Operations       COLLEGE

National         PRESIDENT AND   EDUCATION/TRAINING- OTHER        $25.8K
Aeronautics      FELLOWS OF
and Space        HARVARD
Administration   COLLEGE

                 PRESIDENT AND   SPECIAL STUDIES/ANALYSIS-        $19.4K
National         FELLOWS OF      SCIENTIFIC DATA
Institutes of    HARVARD
Health           COLLEGE

Immediate        PRESIDENT AND   EDUCATION/TRAINING-             $18.6K
Office of the    FELLOWS OF      TUITION/REGISTRATION/MEMBERSHIP
Secretary of     HARVARD         FEES
Transportation   COLLEGE

                 HARVARD         EDUCATION/TRAINING-             $16K
                 BUSINESS        TUITION/REGISTRATION/MEMBERSHIP
National         SCHOOL          FEES
Institutes of    PUBLISHING
Health           CORPORATION

                 PRESIDENT AND   EDUCATION/TRAINING- GENERAL      $11.2K
Agency for       FELLOWS OF
International    HARVARD
Development      COLLEGE
                PRESIDENT AND              EDUCATION/TRAINING-                           $10.5K
 Food Safety    FELLOWS OF                 TRAINING/CURRICULUM
 and Inspection HARVARD                    DEVELOPMENT
 Service        COLLEGE

Table: NEENA HAGEN, MIKE DAMIANO, LIZ KOWALCZYK AND YOOHYUN JUNG/GLOBE
STAFF•Source: USAspending.gov, Globe reporting

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